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                                     ATTACHMENT A

                                  Property to Be Searched

       This warrant applies to the FBI Evidence Item 74 - ASUS Laptop S/N

H5N02U020458188, which is currently located in the FBI Charlottesville Resident Agency

evidence locker at 2211 Hydraulic Road, Suite 201, Charlottesville, VA, 22901, within the

Western District of Virginia.
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                                      ATTACHMENT B

                    Particular Things to be Searched For and Seized

       All records and information on the Electronic Device described in Attachment A that

relate to violations of Title 18, United States Code, Section 1201 (Kidnapping), Title 18, United

States Code, Section 1512(k) (Conspiracy to Kill Witnesses), and Title 18, United States Code,

Section 924(c) (brandishing firearm during commission of a crime of violence), between March

2018 and August 2018, to include but not limited to:

           a. Evidence related to use of or access to computers, servers, e-mail accounts, social
              media accounts, and other digitally-stored data without lawful authority and/or
              permission;

           b. Communications about or related to the use of or access to computers, servers, e-
              mail accounts, social media accounts, and other digitally-stored data without
              lawful authority and/or permission;

           c. Usernames, passwords, and/or other information that could be used to access
              computers, servers, e-mail accounts, social media accounts, and other digitally-
              stored data;

           d. Evidence related to use of information, in whatever form, taken without lawful
              authority and/or permission from computers, servers, e-mail accounts, social
              media accounts, and other digitally-stored data;

           e. Evidence related to the planning and effectuation of kidnapping and murdering
              others;

           f. Information related to the use of the internet to identify people and access their
              accounts without lawful authority and/or permission;

           g. Evidence of user attribution showing who used or owned the Electronic Devices
              at the time the things described in this warrant were created, edited, or deleted,
              such as logs, phonebooks, saved usernames and passwords, documents, and
              browsing history.

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,
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including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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